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     and Joseph S. St. John
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 8
                                         UNITED STATES DISTRICT COURT
 9
                                    NORTHERN DISTRICT OF CALIFORNIA
10                                            SAN JOSE DIVISION
11
     IN RE: GOOGLE LOCATION HISTORY                     Case No. 5:18-cv-05062-EJD
12
     LITIGATION
13                                                      DECLARATION OF JOSEPH S. ST. JOHN

14                                                      Time:        9:00 A.M.
     JOHN ANDREN, MATTHEW LILLEY, AND                   Date:        April 18, 2024
15   JOSEPH S. ST. JOHN,                                Judge:       Hon. Edward J. Davila
                                                        Courtroom:   4, 5th Floor
16                          Objectors.
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 1           I, Joseph S. St. John, declare as follows:

 2           1.       I have personal knowledge of the facts set forth herein and, if called as a witness, could and

 3   would testify competently thereto.

 4           2.       My address is 1701 Jefferson Ave., New Orleans, LA 70115. My telephone number is (410)

 5   212-3475.    I     maintain    two    email     accounts    with    Google:     j.scott.stjohn@gmail.com      and

 6   j.scott.stjohn.public@gmail.com.

 7           3.       Hamilton Lincoln Law Institute (“HLLI”), its Center for Class Action Fairness (“CCAF”), and

 8   its attorneys (of which my wife is one) represent me in this matter.

 9           4.       I intend to appear through my counsel Ted Frank at the fairness hearing currently scheduled

10   for April 18, 2024.

11           5.       I am a Settlement Class Member as defined by the Settlement. My personal email addresses

12   associated with my Google account, and related to my claim here, are j.scott.stjohn@gmail.com and

13   j.scott.stjohn.public@gmail.com. I am a natural person who resided in the United States and used one or more

14   mobile devices while “Location History” was disabled during the class period.

15           6.       Specifically, my Google account settings show that my Location History is off. I routinely seek

16   to minimize location tracking, including by turning Location Services off unless they are necessary to perform

17   a specific function; I then turn Location Services off after that specific function is accomplished. This has been

18   my habit and routine practice since at least 2018.

19           7.       I have not located information in my Google account stating the historic settings for my

20   Location History, although it does state “you have no activity to delete.” If presented with the option to turn

21   off Location History, my habit and routine practice would have led me to turn off Location History. I have

22   been unable to ascertain whether I was presented with that choice, although my account notes that Location

23   History is currently “off” and “off” is the default setting. To the best of my knowledge, my Location History

24   setting was “off” throughout the class period.

25           8.       A true and accurate screensnip of my Location History settings is below:

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18          9.      While Location Services were turned off, I used numerous Google apps and services, including

19   at least Gmail, Google Search, Google Maps, YouTube, and Google Translate.

20          10.     These services were accessed and used from my personal Apple iPhone, of which I owned

21   various versions throughout the class period.

22          11.     I am not excluded from class membership because I am not a director, officer, employee, or

23   agent of Google or its subsidiaries and affiliated companies and I have not requested to be excluded from the

24   Settlement.

25          12.     The specific grounds of my objection are identified in the memorandum to be filed by my

26   attorney contemporaneously with this declaration.

27          13.     I oppose the work of certain of the proposed cy pres recipients and do not wish money that

28   belongs to me and other class members sustain their programs that work against my interests and values. Some

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 1   of these organizations—such as ACLU organizations and the Rose Foundation—are hostile to my values. I

 2   am unfamiliar with many of the other proposed recipients, but am concerned by many of the organizations’

 3   self-descriptions, which include references to so-called “social justice,” “environmental justice,” and diversity

 4   causes that I believe are fundamentally unjust and un-American. I do not wish to fund such organizations nor

 5   associate myself with their work. I note that many such organizations use oblique language and take extreme

 6   positions with little publicity, thereby making it difficult to evaluate their true positions and requiring substantial

 7   effort to ascertain what the organization stands for.

 8           14.     My objection apples to the entire class.

 9           15.     I would not find it financially feasible to vindicate any claims I might have against Google

10   defendants via an individual suit for money damages.

11           16.     I bring this objection in good faith. I have no intention of settling this objection for any sort

12   of side payment. Unlike many objectors who attempt or threaten to disrupt a settlement unless plaintiffs’

13   attorneys buy them off with a share of attorneys’ fees, it is my understanding and belief that CCAF does not

14   engage in quid pro quo settlements and will not withdraw an objection or appeal in exchange for payment.

15           17.     Thus, if contrary to CCAF’s practice and recommendation, I agree to withdraw my objection

16   or any subsequent appeal for a payment by plaintiffs’ attorneys or the defendant(s) paid to me or any person

17   or entity related to me in any way without court approval, I hereby irrevocably waive any and all defenses to a

18   motion seeking disgorgement of any and all funds paid in exchange for dismissing my objection or appeal.

19           I declare under penalty of perjury under the laws of the United States of America that the foregoing

20   is true and correct.

21           Executed on March 4, 2024, in New Orleans, LA.

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                                                               Joseph S. St. John
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